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10                                               IN THE UNITED STATES DISTRICT COURT

11                                                          FOR THE DISTRICT OF OREGON

12   BILLY GOSTEVSKYH,                                                                        )
                                                                                              )        No. 6:15-CV-02336-TC
13                                              Plaintiff,                                    )
                                                                                              )        NOTICE OF DEPOSITION OF
14                               v.                                                           )        JASON MYERS
                                                                                              )
15   JASON MYERS and MARION COUNTY                                                            )
                                                                                              )
16                                              Defendants.                                   )

17   TO: Jason Myers by and through his attorney, Kenneth S. Montoya:

18                 YOU WILL PLEASE TAKE NOTICE that on December 18, 2017, Jose Cienfuegos,

19   attorney for Plaintiff, will take the deposition of Jason Myers, at 4500 Kruse Way, Suite 390, Lake

20   Oswego, Oregon 97035. The deposition of Jason Myers will begin at 9:30 a.m. Said deposition will

21   be reported by court reporter and/or audio and video recorded. You are invited to attend and

22   cross-examine. This notice shall be continued as to time and place upon stipulation of the parties.

23                 DATED this 30th day of November, 2017.

24                                                                                    /s/ Jose Cienfuegos

25                                                                                    Jose Cienfuegos, #010280
                                                                                      Attorney for Plaintiff
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